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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION

s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s

United States of America,                                :     Case No. 3:19-CR-004-2

                   Plaintiff,                            :     HON. JAMES G. CARR

vs.                                                      :     MOTION FOR LEAVE TO FILE
                                                               SENTENCING MEMORANDUM
Vincent Armstrong,                                       :     UNDER SEAL

                   Defendant.                            :

s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s

            Pursuant to Local Criminal Rule 49.4, defendant Vincent Armstrong respectfully requests an

Order permitting him to file his sentencing memorandum under seal. Mr. Butler intends to file a

Sentencing Memorandum in this matter which references portions of his confidential Presentence

Investigation Report, and which addresses other confidential matters which should be protected from

public disclosure.

                                                             Respectfully submitted,

                                                             EASTMAN & SMITH LTD.

                                                             /s/ Adam S. Nightingale
                                                             Adam S. Nightingale (0079095)
                                                             One SeaGate, 24th Floor
                                                             P.O. Box 10032
                                                             Toledo, Ohio 43699-0032
                                                             Telephone: (419) 241-6000
                                                             Fax:        (419) 2247-1777
                                                             E-Mail:     asnightingale@eastmansmith.com

                                                             Attorney for Defendant Vincent Armstrong

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                                          PROOF OF SERVICE

            This is to certify that a copy of the foregoing has been filed electronically this 27th day of

November, 2019. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system, and the parties may access this filing through the Court’s system.

                                                          /s/ Adam S. Nightingale
                                                          Attorney for Defendant Vincent Armstrong




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